       Case 1:19-cv-04477-LMM Document 121 Filed 10/28/20 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 LBH Engineers, LLC,

       Plaintiff,

 v.                                         CASE NO. 1:19-cv-04477-LMM
 Archer Western Contractors, LLC,            JURY TRIAL DEMANDED
 Archer Western Construction, LLC,
 Hubbard Construction Company,
 Northwest Express Roadbuilders,
 Parsons Corporation,
 Parsons Transportation Group Inc., and
 Heath & Lineback Engineers, Inc.,

       Defendants.



      JOINT MOTION TO MODIFY THE SCHEDULING ORDER FOR
        COMPLETION OF CLAIM CONSTRUCTION DISCOVERY

      Pursuant to the Court’s Scheduling Order (ECF 85, 89), Plaintiff LBH

Engineers, LLC (“Plaintiff”) and Defendants Archer Western Contractors, LLC,

Archer Western Construction, LLC, Hubbard Construction Company, Northwest

Express Roadbuilders, Parsons Corporation, Parsons Transportation Group Inc., and

Heath & Lineback Engineers, Inc. (collectively, the “Defendants”) respectfully and

jointly move the Court for entry to modify the Scheduling Order as to the deadline
        Case 1:19-cv-04477-LMM Document 121 Filed 10/28/20 Page 2 of 5




 for completion of claim construction discovery. The parties propose that the date

 for the completion of claim construction discovery be modified from November 9,

 2020 to December 9, 2020.

       Respectfully submitted this 28th day of October, 2020,



/s/ Edward R. Nelson III                      /s/ William Y. Klett III
Edward R. Nelson III (admitted pro hac       WILLIAM Y. KLETT III
vice)                                        Admitted pro hac vice
Texas Bar No. 00797142                       GRAHAM H. STIEGLITZ
John Murphy (admitted pro hac vice)          Georgia Bar No. 682047
Texas Bar No. 24056024                       BURR & FORMAN LLP
Christopher G. Granaghan (admitted pro       171 17th Street NW, Suite 1100
hac vice)                                    Atlanta, Georgia 30363
Texas Bar No. 24078585                       wklett@burr.com
Brian P. Herrmann (admitted pro hac          gstieglitz@burr.com
vice)
Texas Bar No. 24083174                       ATTORNEYS FOR DEFENDANTS
ed@nbafirm.com                               ARCHER WESTERN CONTRACTORS,
murphy@nbafirm.com                           LLC, ARCHER WESTERN
chris@nbafirm.com                            CONSTRUCTION, LLC, HUBBARD
brian@nbafirm.com                            CONSTRUCTION COMPANY, AND
NELSON BUMGARDNER                            NORTHWEST EXPRESS
ALBRITTON P.C.                               ROADBUILDERS
3131 West Seventh Street, Suite 300
Fort Worth, Texas 76107
Telephone: (817) 377-9111

/s/ Preston H. Heard
Preston H. Heard (Designated Local
Counsel)
Georgia Bar No. 476319
Preston.Heard@wbd-us.com



                                         2
         Case 1:19-cv-04477-LMM Document 121 Filed 10/28/20 Page 3 of 5




WOMBLE BOND DICKINSON (US)
LLP
271 17th Street, NW
Suite 2400
Atlanta, Georgia 30363-1017
Telephone: (404) 872-7000

ATTORNEYS FOR LBH ENGINEERS,
LLC


/s/ Jeffrey J. Phillips                     /s/ Brian S. Spiler
NEAL J. SWEENEY                            BRIAN S. SPITLER
Georgia Bar No. 694725                     Georgia Bar No. 672287
TODD M. HEFFNER                            KENT T. STAIR
Georgia Bar No. 595870                     Georgia Bar No. 674029
JONES WALKER LLP                           COPELAND, STAIR, KINGMA &
1360 Peachtree St. NE, Suite 1030          LOVELL LLP
Atlanta, Georgia 30309                     191 Peachtree Street, NE, Suite 3600
Tel.: (404) 870-7500                       Atlanta, Georgia 30303
nsweeney@joneswalker.com                   bspitler@cskl.law
theffner@joneswalker.com                   kstair@cskl.law

JEFFREY J. PHILLIPS                        ATTORNEYS FOR HEATH &
Admitted pro hac vice                      LINEBACK ENGINEERS, INC.
Texas Bar No. 24037279
JONES WALKER LLP
811 Main St., Suite 2900
Houston, Texas 77002
Tel.: (337) 593-7600
jphillips@joneswalker.com
MICHAEL K. LEACHMAN
Admitted pro hac vice
Louisiana Bar No. 30158
JONES WALKER LLP
445 N. Blvd., Suite 800
Baton Rouge, Louisiana 70809

                                       3
            Case 1:19-cv-04477-LMM Document 121 Filed 10/28/20 Page 4 of 5




Tel.: (225) 248-2000
mleachman@joneswalker.com
ANDREW S. HARRIS
Admitted pro hac vice
Mississippi Bar No. 104289
JONES WALKER LLP
190 East Capitol St., Suite 800
Jackson, Mississippi 39201
Tel.: (601) 949-4900
aharris@joneswalker.com

ATTORNEYS FOR PARSONS
CORPORATION AND PARSONS
TRANSPORTATION GROUP INC.




                         CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing was prepared using 14-point Times New

  Roman font, and otherwise conforms to the requirements of Local Rule 5.1(C) and

  7.1(D).

                                                   /s/ Edward R. Nelson III




                                          4
       Case 1:19-cv-04477-LMM Document 121 Filed 10/28/20 Page 5 of 5




                          CERTIFICATE OF SERVICE

      On October 28, 2020, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Georgia, using the

electronic case filing system of the court. I hereby certify that I have served all

counsel and/or pro se parties of record electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                     /s/ Edward R. Nelson III




                                          5
